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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHARLES MORGAN,           )                  Civil Action No. 4:17-cv-01142-JEJ
                          )
         Plaintiff,       )                  The Hon. John E. Jones III
                          )                  U.S. District Judge
         vs.              )
                          )
MICHAEL FIORENTINO, JR.,  )
DEENA HILL,               )
THE PENNSYLVANIA STATE    )
SYSTEM OF HIGHER          )
EDUCATION, and LOCK HAVEN )
UNIVERSITY OF             )
PENNSYLVANIA,             )
                          )
         Defendants.      )                  Filed Electronically

                              NOTICE OF APPEAL

      Notice is hereby given that Plaintiff Charles Morgan (“Plaintiff”) in the above

named case hereby appeals to the United States Court of Appeals for the Third Circuit

from a) the Order of the U.S. District Court for the Middle District of Pennsylvania

dated June 27, 2019 (ECF Doc 63) granting summary judgment in favor of

Defendants Michael Fiorentino, Jr., Deena Hill, the Pennsylvania State System of

Higher Education, and Lock Haven University of Pennsylvania and denying partial

summary judgment to Plaintiff and from b) the Memorandum of Law (ECF Doc. 62)

regarding the aforementioned Order.
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                                  Respectfully Submitted,

                                  LIEBER HAMMER HUBER &
                                  PAUL, P.C.

                                  s/James B. Lieber
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                           CERTIFICATE OF SERVICE

      I hereby certify that on July 11, 2019, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will send notification of such

filing to the following:

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                                              s/James B. Lieber
                                              James B. Lieber
